     Case: 1:16-cv-09429 Document #: 44 Filed: 04/18/17 Page 1 of 4 PageID #:608




                    UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION


MIDAMINES SPRL LTD. (Illinois Corp.)
    Plaintiff,
v.                                                            Case No. 16-9429

KBC BANK N.V.                                                 Hon. John J. Tharp, Jr.
     Defendant.
__________________________________/


                      DECLARATION OF HASSAN A. ABBAS

         I, Hassan A. Abbas, hereby declare pursuant to 28 U.S.C. §1746 as follows:

1.       I have personal knowledge of the following and would be competent to testify.

2.       I opened the business bank account of Midamines Sprl Ltd., Illinois corporation, at

         PNC BANK, 560 WEST ARMY TRAIL ROAD, CAROL STREAM, ILLINOIS

         60188. I was the main signatory on the account, and the co-signatory on the account

         was the Illinois attorney, Santo P. Terenzio, who is also the registered agent for

         Midamines Sprl Ltd., Illinois corporation.

3.       Attached as “Exhibit A” is the CERTIFICATE OF GOOD STANDING for

         Midamines Sprl Ltd., Illinois Corporation, from the Secretary of State of Illinois.

4.       Attached as “Exhibit B” is the CORPORATE FILING for Midamines Sprl Ltd,

         Illinois Corporation.

5.       Attached as “Exhibit C” is the confirmation from Tiffany A. Larew, MBA, Assistant

         Vice President, Branch Manager, PNC BANK, CAROL STREAM, ILLINOIS, that

         the funds of Midamines Sprl Ltd., Illinois corporation, of $35,110.72, were finally

         paid by KBC in Illinois, and that the funds were fully available for Plaintiff in the

         corporate business Illinois PNC bank account of Midamines Sprl Ltd., in Illinois.



                                                1
     Case: 1:16-cv-09429 Document #: 44 Filed: 04/18/17 Page 2 of 4 PageID #:608




6.       Attached as “Exhibit D” is the PNC BANK ILLINOIS ONLINE STATEMENT

         which shows the deposit and final payment of the $35,110.72 into the PNC ILLINOIS

         BANK ACCOUNT of Midamines Sprl Ltd., in Illinois, at Carol Stream, ILLINOIS –

         and then unlawful taking and reversal by KBC and stop payment.

7.       Attached as “Exhibit E” are the two bank checks which were deposited for payment

         to the Plaintiff’s bank accounts in Illinois.   The Drawee bank, KBC, confirmed

         posting of payment of Plaintiff’s funds of $35,110.72 on October 11, 2012 to the

         Illinois Plaintiff.   KBC’s final payment of $35,110.72 to Midamines Sprl Ltd.,

         Illinois corporation, is also confirmed by KBC’s debiting of the drawer’s account.

8.       The $35,110.72 funds were fully and finally paid into Plaintiff’s PNC corporate

         business bank account of in ILLINOIS – and the funds were available in ILLINOIS

         and the funds belonged to the Illinois corporation, Midamines Sprl Ltd.

9.       Although Plaintiff’s checks were physically deposited in New York, it was for

         payment to ILLINOIS BANK ACCOUNTS, of Illinois Plaintiff, Midamines Sprl

         Ltd., Illinois corporation. Plaintiff’s bank accounts were opened and were located in

         ILLINOIS. The $35,110.72 was deposited for payment to the Plaintiff’s PNC BANK

         account in CAROL STREAM, ILLINOIS, and it was fully and finally paid in

         ILLINOIS – until the unlawful taking and conversion of the funds by KBC.

10.      The Euro 56,414.73 was deposited for payment to the Plaintiff’s CITIBANK account

         in CHICAGO, ILLINOIS – but was never paid by KBC – who stole and converted

         the Euro funds of Midamines Sprl Ltd., Illinois corp.

11.      Plaintiff suffered injury in Illinois due to KBC’s tortious conduct in Illinois and

         KBC’s conversion of Plaintiff’s funds from Illinois.       KBC’s unauthorized wire

         messages were sent via Illinois’ banking system, in violation of Illinois law and UCC,

         for unlawful stop payment of checks, and conversion of funds by KBC.



                                               2
  Case: 1:16-cv-09429 Document #: 44 Filed: 04/18/17 Page 3 of 4 PageID #:608




12.   Plaintiff, Midamines Sprl Ltd., Illinois corp., used the assumed name Midamines Sprl

      for one year because “Ltd.” was not necessary. Plaintiff decided not to renew the

      assumed name which is not active for the past four years and has been discontinued.

      Midamines Sprl Ltd. is a separate and distinct and legal corporation in Illinois

      established by attorney Abbas in 2012. Midamines Sprl Ltd. is not a “parent” nor

      “subsidiary” of any person or entity or company.

13.   Midamines Sprl Ltd. is not the “alter ego” of any entity or person nor vice versa.

      Midamines Sprl Ltd. does not own shares in any other company and also no other

      corporation owns shares in Midamines Sprl Ltd., Illinois corporation.

14.   Midamines Sprl Ltd. is duly registered and established as a separate and legal

      corporation in the State of Illinois and had sufficient capital to do business in Illinois

      in the amounts of $35,110.72 and Euro 56,414.73 – that is until theft of Plaintiff’s

      capital by KBC and the unlawful taking of Plaintiff’s funds from Illinois by KBC.

15.   Plaintiff’s $35,110.72 was paid in ILLINOIS, and at all relevant times herein,

      Midamines Sprl Ltd.’s funds were located in ILLINOIS, in the Plaintiff’s business

      bank account at the PNC Bank in Carol Stream, Illinois. The bank checks were

      drawn on KBC Bank as the Payor bank and KBC’s obligation was to pay the checks.

16.   The funds of Midamines Sprl Ltd. of $35,110.72, were unlawfully converted by KBC

      and tortiously taken from within Illinois by the KBC, without any legal authorization,

      and without justification and in violation of the banking laws and public policy of

      Illinois. Plaintiff, Midamines Sprl Ltd., Illinois corporation, was injured in Illinois

      due to KBC’s tortious acts and conversion of Plaintiff’s funds by KBC from Illinois.

17.   Attached as “Exhibit F” are the confirmations from Ann S. Muldoon, CTP, Vice

      President, Business Banking Treasury Management, PNC BANK, LOMBARD




                                              3
  Case: 1:16-cv-09429 Document #: 44 Filed: 04/18/17 Page 4 of 4 PageID #:608




       ILLINOIS, relative to the establishment of PINACLE Web Wire Services for the

       corporate bank account of Midamines Sprl Ltd. in Illinois.

18.    Attached as “Exhibit G” is the Amended Complaint for Declaratory Judgment under

       28 U.S.C. 2201, and conversion by KBC, and KBC’s violation of Illinois public

       policy and U.C.C., and for the unjust enrichment of KBC who has stolen the funds.

19.    The Court has dropped the Congolese corporation which is terminated as a Plaintiff.

       The Court held that subject matter jurisdiction exists and there is complete diversity

       under 28 U.S.C. 1332(a)(2) (Order, Doc. 28) between Plaintiff, Midamines Sprl Ltd.,

       an Illinois corporation, and citizen of Illinois at 19 Don Carlos Drive, Hanover Park,

       Illinois, 60133, and a foreign bank, KBC Bank NV, a Belgian citizen, incorporated in

       Brussels at Havenlaan 2 (which has a branch in New York during the past 40 years).

20.    Personal jurisdiction over KBC also exists under the Illinois Long-Arm Statute,

       including, but not limited to, KBC’s tortious acts in Illinois, causing injury in Illinois

       to Illinois interests, and causing injury to an Illinois Plaintiff, Midamines Sprl Ltd.,

       which is an Illinois corporation. KBC violated Illinois law and/or federal law, and

       KBC violated Illinois public policy as enacted in the Uniform Commercial Code.

21.    KBC has affected Illinois interests, and as to general jurisdiction, the KBC has

       admitted it has 12 clients in Illinois, and as alleged in the Amended Complaint, KBC

       is doing systematic and continuous business in Illinois. If deemed necessary the

       Plaintiff, Midamines Sprl Ltd., would respectfully request limited jurisdictional

       discovery be conducted from KBC to establish the nature and extent of its clientele

       and business in Illinois, and further establish general jurisdiction over KBC.

        I declare under penalty of perjury under the laws of the State of Illinois and the laws
of the United States of America that the foregoing is true and correct.

       Respectfully submitted,                               Executed on April 18, 2017

       s / Hassan A. Abbas


                                               4
